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Case 1:21-mj-00151-CCB Rocument 1 Filed O21 Tie age 1 of 2

_ MAGISTRATE’S CRIMINAL MINUTES - REMOVALS (Rule 5& 5.1) FILED IN OPEN COURT
‘, : yt . . ‘
4 | ) pate: A//Hal @ 4:33
TAPE: FTR
TIME IN COURT: I minutes

 

 

MAGISTRATE JUDGE CHRISTOPHER C.-BLY | COURTROOM DEPUTY CLERK: JAMES JARVIS

CASE NUMBER: I Ale m- /5/-CCB DEFENDANT'S NAME: _ Verda Fenders Na lley
rn

AUSA: Luo 0 Pucha na DEFENDANT'SATTY: _homas Haw lPet

USPO / PTR: ()Retained ( )CJA (yep () Waived

 

 

 

 

!
|
__VARREST DATE alta )

Initial appearance hearing held. | defendant informed of rights.

Interpreter sworn:

 

COUNSEL

ORDER appointing Federal Defender as counsel for defendant.
‘.ORDER appointing as counsel for defendant.

 

ORDER: defendant to pay attorney's fees as follows:
IDENTITY / PRELIMINARY HEARING

 

Defendant ORALLY WAIVES identity hearing. WAIVER FILED

 

Identity hearing HELD. Def is named def. in indictment/complaint; held for removal to otherdistrict.

 

 

Defendant ORALLY WAIVES preliminary hearing in this district only. WAIVER FILED »

 

Preliminary hearing HELD. Probable cause found; def. held to District Court for removal to other district

 

Commitment issued. Detention hearing to be held in charging district

BOND/PRETRIAL DETENTION HEARING

— Government motion for detention filed . Friday @ 00

Pretrial hearing set for @ 0 In charging district.)

 

Bond/Pretrial detention hearing held.

Government motion for detention ()GRANTED  () DENIED

 

_ Pretrial detention ordered. _ Written order to follow.
_____ BOND set at _____ NON-SURETY ___ SURETY
cash. | property corporate surety ONLY
SPECIAL CONDITIONS: __ a

 

 

_ Defendant released.
Bond not executed. Defendant to remain in Marshal's custody.
Motion ( verbal) to reduce/revoke bond filed.

Motion to reduce/revoke bond , GRANTED DENIED

See page 2

 
 

 

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Defendant was advised of the below order at today’s proceeding.

Order

Pursuant to the Due Process Protections Act, see Fed. R. Crim. P. 5(f), the government is directed to adhere
to the disclosure obligations set forth in Brady v. Maryland, 373 U.S. 83 (1963), and its progeny, and to provide all
materials and information that are arguably favorable to the defendant in compliance with its obligations under
Brady; Giglio v. United States, 405 U.S. 150 (1972); and their progeny. Exculpatory material as defined in Brady
and Kyles v. Whitley, 514 U.S. 419, 434 (1995), shall be provided sufficiently in advance of trial to allow a defendant

to use it effectively, and exculpatory information is not limited to information that would constitute admissible
evidence.

The failure of the government to comply with its Brady obligations in a timely manner may result in serious
consequences, including, but not limited to, the suppression or exclusion of evidence, the dismissal of some or all
counts, adverse jury instructions, contempt proceedings, or other remedies that are just under the circumstances.

 

 
